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                                 EXHIBIT 2
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                                 EXHIBIT 3
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     EXHIBIT 4
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